Plaintiff and defendant were husband and wife at the time the plaintiff executed a deed to the defendant on May 22, 1920. They were divorced June 30, 1920. Plaintiff brings this action to set aside the deed on the ground that it was procured by duress. Judgment having been rendered in favor of the defendant, plaintiff appealed claiming that the evidence is insufficient to justify the judgment. The evidence is conflicting and for that reason the appeal is without merit. [1] It is apparent from an inspection of the plaintiff's brief that the appeal was not taken in good faith and was taken for delay only. The defendant should be allowed damages for frivolous appeal.
Judgment affirmed with $250 damages to be entered as costs in the trial court.
Waste, J., Myers, J., Lennon, J., Seawell, J., Lawlor, J., and Kerrigan, J., concurred. *Page 440 